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                UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA




    DANIEL LEE,                         CV 22-1622-DSF-GJS
          Plaintiff,
                                        Order to Show Cause re
                    v.                  Dismissal for Lack of
                                        Prosecution
    APOTHAKER SCIAN P.C.,
    et al.,
            Defendant.



       The Federal Rules of Civil Procedure require a plaintiff to serve
    process on the defendants within 90 days of the filing of the
    complaint. Fed. R. Civ. P. 4(m). The Court may extend this
    deadline for good cause. Id. More than 90 days have passed since
    the complaint in this case was filed, and Plaintiff has not filed a
    proof of service for at least one defendant. Therefore, Plaintiff is
    ordered to show cause no later than July 21, 2022 why the
    unserved defendants should not be dismissed for failure to
    prosecute. The filing of proofs of service showing that the
    defendants were served within the 90-day period or a showing of
    good cause for extending the service period constitute adequate
    responses to this order.
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      IT IS SO ORDERED.


    Date: July 7, 2022                    ___________________________
                                          D l S
                                          Dale S. Fi  h
                                                  Fischer
                                          United States District Judge




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